8:12-cr-00282-BCB-MDN        Doc # 247     Filed: 03/04/13    Page 1 of 1 - Page ID # 410




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )            CASE NO. 8:12CR282
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )                    ORDER
                                             )
MELISSA ALVAREZ,                             )
                                             )
              Defendant.                     )

       This matter is before the Court on the Defendant’s Motion to Reschedule PSI

Interview (Filing No. 244). The Court has discussed the rescheduling of the interview with

the probation officer and finds that the interview can be rescheduled without changing the

sentencing date. An Amended Order on Sentencing Schedule will be issued extending

deadlines previously set to allow time for the probation officer to interview the Defendant

and prepare the Presentence Investigation Report, for the parties to file any objections,

and for the Court to issue its Tentative Findings.

       IT IS ORDERED:

       1.     The Defendant’s Motion to Reschedule PSI Interview (Filing No. 244) is

              granted; and

       2.     An Amended Order on Sentencing Schedule will be issued.

       DATED this 4th day of March, 2013.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 Chief United States District Judge
